                                     05-44481-rdd               Doc 9692-13            Filed 09/28/07 Entered 09/28/07 16:40:29                    Exhibit F-1
  In re Delphi Corporation, et al.                                                                                                                                 Twentieth Omnibus Claims Objection
                                                                                               Pg 1 of 1
  Case No. 05-44481 (RDD)
                EXHIBIT F-1 - ADJOURNED DUPLICATE OR AMENDED CLAIMS

  CLAIM TO BE EXPUNGED                                                                                 SURVIVING CLAIM

  Claim Number:        15299                         Debtor:    DELPHI AUTOMOTIVE SYSTEMS LLC          Claim Number:        14645                          Debtor:       DELPHI AUTOMOTIVE SYSTEMS LLC
                       07/31/2006                               (05-44640)                                                  07/31/2006                                   (05-44640)
  Date Filed:                                                                                          Date Filed:
  Creditor's Name and Address:                      Secured:             $389,277.00                   Creditor's Name and Address:                         Secured:            $3,184,562.00

                                                   Priority                                                                                                  Priority:
  AI SHREVEPORT LLC                                                                                    ANDROID INDUSTRIES LLC
  40950 WOODWARD AVE STE 100                 Administrative::                                          40950 WOODWARD AVE STE 100                     Administrative:
  BLOOMFIELD HILLS, MI 48304                     Unsecured:                                            BLOOMFIELD HILLS, MI 48304                         Unsecured:


                                                      Total:             $389,277.00                                                                           Total:           $3,184,562.00


                                                                                                                                                   Total Claims to be Expunged:                               1
                                                                                                                                         Total Asserted Amount to be Expunged:                      $389,277.00




*UNL stands for unliquidated

                                                                                                Page 1 of 1
